Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 1 of 33 PageID #: 2637



                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            LAKE CHARLES DIVISION

    THE STATE OF LOUISIANA,            §
                   Plaintiff,          §
                                       §
    v.                                 §       CASE NO. 2:23-cv-00692-JDC-KK
                                       §
    U.S. ENVIRONMENTAL                 §
    PROTECTION AGENCY, et al.,         §
                   Defendants.         §


                            AMICUS CURIAE BRIEF OF
                    THE AMERICAN CIVIL RIGHTS PROJECT AND
                     THE HAMILTON LINCOLN LAW INSTITUTE
         IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
         AND SUPPORT OF SUMMARY JUDGMENT FOR PLAINTIFF UNDER FED. R.
                                 CIV. P. 56(F)




                                           i
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 2 of 33 PageID #: 2638



                                                   TABLE OF CONTENTS

    TABLE OF CONTENTS .......................................................................................................... ii

    TABLE OF AUTHORITIES ................................................................................................... iv

    INTEREST OF AMICI CURAIE .......................................................................................... viii

    SUMMARY OF ARGUMENT ................................................................................................ 2

    ARGUMENT ............................................................................................................................ 4

          I. The Regulation is Not and Cannot Constitutionally Be a Catch-All, All-Purpose
             Disparate-Impact Regulation ........................................................................................ 4

          A. The Regulation is Not a Disparate-Impact Regulation ................................................. 5

          B. The Regulation Could Not Constitutionally Be a Catch-All, All-Purpose Disparate-
             Impact Regulation ......................................................................................................... 7

              1. Constitutional Law Establishes the Difference Between Enforcing a Rule and
                 Altering its Meaning, Providing Guidance on the Proper Scope of Title VI
                 Regulations ............................................................................................................... 8

              2. If the Regulation Prohibited Disparate Impacts as a General Matter, the EPA
                 Lacked Power to Issue It ........................................................................................... 9

              3. Consistency of Analysis with Supreme Court Jurisprudence ................................. 12

              a. Guardians Barely Supports EPA’s Position ........................................................... 12

              b. Post-Guardians Development Guts EPA’s Preferred Reading of Guardians’
                 Dicta ........................................................................................................................ 12

          C. The Canon of Constitutional Avoidance Dictates That the Court Should Reject the
             EPA’s New Interpretation and Read the Regulations Not to Be Catch-All, All-
             Purpose Disparate-Impact Regulations ....................................................................... 18

          D. If the Court Defers to the EPA on the Regulation’s Meaning, It Must Declare the
             Regulation Unconstitutional ....................................................................................... 19

          II. EPA’s Timing Extrapolation Contradicts Itself ......................................................... 19

          A. The EPA’s Current Interpretation of the Regulation and the Regulation Itself are Not
             Co-Extensive ............................................................................................................... 20


                                                                         ii
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 3 of 33 PageID #: 2639



          B. Claims for Constitutional Harms are Litigable When They Arise, Whether or Not
             Caused by Nominal Reliance on an Existing Regulation ........................................... 20

          C. The EPA’s Inconsistent and Contradictory Positions Bar Challenge to the
             Regulation’s Propriety ................................................................................................ 21

          III. The Administration Seeks to Evade Judicial Review of its “Whole of Government”
               Misdeployment of Disparate-Impact Analysis (of Which the EPA’s Reinterpretation
               of the Regulation is a Part) ....................................................................................... 22

          A. The “Whole of Government” Misdeployment of Disparate-Impact Analysis Has Vast
             Scope ........................................................................................................................... 22

          B. The Federal Government Has Repeatedly Evaded Litigation Over the Propriety of
             Disparate-Impact Enforcement of Title VI ................................................................. 24

          C. The Court Must Reject the Administration’s Gamesmanship .................................... 25

    CONCLUSION ....................................................................................................................... 25




                                                                        iii
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 4 of 33 PageID #: 2640




                                                 TABLE OF AUTHORITIES

                                                                 CASES

    Adarand Constructors, Inc. v. Pena,
      515 U.S. 200 (1995) ........................................................................................................... 19

    Alexander v. Choate,
       469 U.S. 287 (1985) ............................................................................................................. 8

    Alexander v. Sandoval,
       532 U.S. 275 (2011) ........................................................................................... 8, 10, 13, 14

    Bailey v. United States,
      508 F.3d 736 (5th Cir. 2007) .............................................................................................. 20

    Board of Trustees of the University of Alabama v. Garrett,
      531 U.S. 356 (2001) ............................................................................................................. 9

    B.R. v. Garland,
       26 F.4th 827 (9th Cir. 2022)............................................................................................... 18

    Catholic Bishop of Chicago,
      440 U.S. 490 (1979) ........................................................................................................... 18

    City of Boerne v. Flores,
       521 U.S. 507 (1997) ......................................................................................................... 8, 9

    Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council,
      485 U.S. 568 (1988) ........................................................................................................... 18

    Employment Division v. Smith,
      494 U.S. 872 (1990) ............................................................................................................. 8

    Fisher v. Univ. of Tex. at Austin,
       570 U.S. 297 (2013) ........................................................................................................... 19

    Gartrell v. Gaylor,
      981 F.2d 254 (5th Cir. 1993) .............................................................................................. 20

    Gomez v. United States,
      490 U.S. 858 (1989) ........................................................................................................... 18


                                                                     iv
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 5 of 33 PageID #: 2641



    Gratz v. Bollinger,
      539 U.S. 244 (2003) ............................................................................................................. 8

    Grutter v. Bollinger,
      539 U.S. 306 (2003) ........................................................................................................... 19

    Guardians Ass’n. v. Civil Serv. Comm’n of New York City,
      463 U.S. 582 (1983) ..................................................................................... 8, 12, 13, 14, 17

    Lau v. Nichols,
      414 U.S. 563 (1974) ..................................................................................................... 13, 14

    Nat’l Mining Ass’n v. Kempthorne,
      512 F.3d 702 (D.C. Cir. 2008) ........................................................................................... 18

    N.L.R.B. v. Catholic Bishop of Chicago,
      440 U.S. 490 (1979) ...............................................................................................................

    Pedcor Mgmt. Co., Inc. Welfare Benefit Plan v. Nations Personnel of Tex., Inc.
      343 F.3d 355 (5th Cir. 2003) .............................................................................................. 12

    Regents of Univ. of Cal. v. Bakke,
      438 U.S. 265 (1978) ............................................................................................................. 8

    Rep. Nat’l Comm. v. FEC,
      316 U.S. App. D.C. 139 (D.C. Cir. 1996) .......................................................................... 18

    Ricci v. DeStefano,
       557 U.S. 557 (2009) ........................................................................................................... 18

    Rust v. Sullivan,
      500 U.S. 224 (1991) ........................................................................................................... 18

    Students for Fair Admissions Inc. v. President & Fellows of Harvard College,
       143 S.Ct. 2141, 2156, n. 2 (2023) .............................................................................. 5, 8, 19

    United States v. CITGO Petroleum Corp.,
      801 F.3d 477 (5th Cir. 2015) ............................................................................................... 18

    United States v. Courtney,
      463 F.3d 333 (5th Cir. 2006) .............................................................................................. 12

    Village of Arlington Heights v. Metropolitan Housing Development Corp.,
       429 U.S. 252 (1977) ............................................................................................................. 8



                                                                      v
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 6 of 33 PageID #: 2642



    West Virginia v. EPA,
      142 S. Ct. 2587, 2022 U.S. LEXIS 3268 (2022) .................................... 7, 13, 14, 15, 16, 17


                                            STATUTES AND REGULATIONS
    40 C.F.R. § 7.35 .................................................................................................................... 2, 4

    Fed. Reg. Vol. 38, No. 128 (Jul. 5, 1973), p. 17969, 7.4(b)(2)................................................. 4

    Civil Rights Act of 1964, Pub. L. No. 88-352, 78 Stat. 24 .............................................. passim


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      Education Dep’t Opens Investigation into Harvard’s Legacy Admissions,
      AP (Jul. 25, 2023) .............................................................................................................. 23

    Comment on Dep’t of Ed.’s Potential Guidance on Nondiscriminatory Administration of
      School Discipline, The ACR Project (Jul. 23, 2021) ......................................................... 24

    EPA Nominee Regan Clears Senate Committee, Appears Headed for an Easy Confirmation,
      The News and Observer (Feb. 9, 2021) .............................................................................. 20

    Erin Fitzgerald,
       EGLE, EPA Retreat from Civil Rights Agreement with Flint Groups,
       Earthjustice (Aug. 10, 2023) .............................................................................................. 24

    Gail Heriot,
      Title VII Disparate Impact Liability Makes Almost Everything Presumptively Illegal,
      14 NYU J.L. & LIBERTY 1 (2020) ...................................................................................... 24

    Gail Heriot and Alison Somin,
      The Dept. of Education’s Obama-Era Initiative on Racial Disparities in School Discipline:
      Wrong for Students and Teachers, Wrong on the Law,
      22 TEX. REV. L. & POLITICS 471 (2018)......................................................................... 5, 10

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      Dep’t of Ed., (Mar. 24, 2023)............................................................................................. 24

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      Crossroads, American Bar Association (Mar. 1, 2012) ..................................................... 11


                                                                       vi
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 7 of 33 PageID #: 2643



    Interim Resolution Agreement Between the U.S. Dep’t of Just. and the Dep’t of HHS and the
       Ala. Dept’t of Pub. Health, Dep’t of Just. No. 171-3-14;
       HHS Office of Civil Rights No. 22-451932 ....................................................................... 23

    Memorandum of Agreement Between the United States of America and the Liberty County
      Sheriff’s Office, Dep’t of Just. No. 171-19-24 .................................................................. 23

    Plato & Allan Bloom, The Republic (2016) ........................................................................... 20

    Request for Information Regarding Nondiscriminatory Administration of School
      Discipline—Office of Civil Rights
      (Docket ID ED-2021-OCR-0068), (Fed. Reg. Vol. 86, No. 108, pp. 30449-30453)......... 23

    Resource on Confronting Racial Discrimination in Student Discipline,
      Dep’t of Ed.’s OCR and DOJ’s Civil Rights Division (May 2023)................................... 24

    U.S.C.C.R. Report: Environmental Justice: Examining the Environmental Protection
      Agency’s Compliance and Enforcement of Title VI and Executive Order 12,898 (Sep.
      2016)................................................................................................................................... 16




                                                                        vii
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 8 of 33 PageID #: 2644




                                  INTEREST OF AMICI CURAIE

           The American Civil Rights Project (the “ACR Project”) is a public-interest law firm,

    dedicated to protecting and where necessary restoring the equality of all Americans before

    the law.

           Hamilton Lincoln Law Institute (“HLLI” and, with the ACR Project, the “Amici”) is

    a public-interest law firm dedicated to protecting free markets, free speech, limited

    government, and separation of powers, and against regulatory abuse and rent-seeking. Its

    subunit, the Center for Class Action Fairness represents class members pro bono in class

    actions where class counsel employs unfair class-action procedures to benefit themselves at

    the expense of the class.

           The Amici have invested substantial time and resources investigating the confluence

    of American non-discrimination statutes and the U.S. Constitution with other substantive

    areas of law. The Amici believe their resulting expertise will benefit the Court in its

    consideration of this case.




                                               viii
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 9 of 33 PageID #: 2645



            The American Civil Rights Project (the “ACR Project”) and the Hamilton Lincoln

    Law Institute (“HLLI” and, with the ACR Project, the “Amici”) respectfully submit this

    Amici Curiae brief in support of the State’s Motion for Preliminary Injunction (the

    “Motion”) filed by the State of Louisiana (“Louisiana”) and in opposition to the

    Defendants’ Cross-Motion to Dismiss or for Summary Judgment. 1

                                   SUMMARY OF ARGUMENT

        In this litigation, the U.S. Environmental Protection Agency (the “EPA”) argues that

    its Title VI regulation from the early 1970s (as amended, the “Regulation”) 2 has always

    been a catch-all, all-purpose, disparate-impact regulation, forbidding the EPA’s funding

    recipients from making decisions that have unjustified, racially disparate impacts. It

    argues that its dismissal of its investigations into whether a pair of Louisiana’s permitting

    decisions had such unjustified racially disparate impacts, and so allegedly violated the

    Regulation, moots Louisiana’s challenge to the EPA’s otherwise systematic national

    application of its current interpretation of the Regulation. It insists that any argument to

    the contrary comes fifty (50) years too late and conflicts with Supreme Court precedent.

        The EPA misstates the content of the Regulation and the state of substantive law.

    The Regulation’s text and modern constitutional law show that it is not and could not

    constitutionally be a catch-all, all-purpose, disparate-impact regulation. The Court should

    apply the canon of constitutional avoidance to refuse to so read it or hold that the

    Regulation unconstitutionally exceeds the EPA’s power.

        The EPA’s timing argument belies itself. It conflates the EPA’s current

    interpretation of the Regulation with the Regulation itself. It wrongly extrapolates from


    1
        Dkt. 29 at p. 5 (the “EPA Cross-Motion”).
    2
        40 C.F.R. § 7.35.



                                                    2
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 10 of 33 PageID #: 2646




     the Administrative Procedures Act’s process for challenging new rules a prohibition

     against litigating new harms from new interpretations of preexisting rules. It advances

     that extrapolation, while both arguing for the sufficiency of raising constitutional

     concerns as defenses to agency enforcement actions and admitting that the EPA has never

     brought such an enforcement action to enforce the Regulation against anyone.

         The EPA advances its substantively wrong arguments in strategic bad faith.

     Previously, for decades, the EPA contended that policing the disparate impacts of

     nondiscriminatory environmental decisions would run contrary to its statutory mandate,

     which is to improve the environmental quality of America, not to reallocate

     environmental risks among Americans. It eventually entertained the notion that such

     policing could be proper, but never, over decades, found any policy with a disparate

     impact not to be justified. Only over the last three years has the EPA redirected its

     decision-making processes to focus on avoiding (select) racially disparate impacts of

     otherwise proper environmental decisions. EPA took these steps as part of the current

     administration’s concerted “whole of government” pursuit of so-called “equity,” a wide-

     scale, multi-agency reinterpretation of Title VI’s regulations to compel race-based

     decisions producing racially balanced results. Now that Louisiana has challenged the

     propriety of the EPA’s actions, the EPA backtracked, shutting down its related

     investigations, claiming that despite its reinterpretation of the Regulation, there is nothing

     new here, and denying that its interpretation is subject to judicial review. The Court

     cannot allow the EPA to continue to pursue illegal “enforcement” of its reinterpretation

     of the Regulation against everyone else, while hiding the ball whenever that illegal

     enforcement is challenged.



                                                   3
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 11 of 33 PageID #: 2647




          The Court should grant summary judgment to Louisiana, both because the EPA is

     wrong on the law and because the EPA has engaged in bad-faith gamesmanship to try to

     avoid judicial scrutiny of how very wrong on the law it is.

                                                   ARGUMENT

     I.       T HE R EGULATION IS N OT AND C ANNOT C ONSTITUTIONALLY B E A
              C ATCH -A LL , A LL -P URPOSE D ISPARATE -I MPACT R EGULATION

          In relevant part, the Regulation provides that:

                        A recipient shall not use criteria or methods of administering its program

                        or activity which have the effect of subjecting individuals to

                        discrimination because of their race, color, national origin, or sex, or have

                        the effect of defeating or substantially impairing accomplishment of the

                        objectives of the program or activity with respect to individuals of a

                        particular race, color, national origin, or sex. 3

     EPA contends this is a “disparate-impact regulation[ ]” whose “discriminatory-effect

     provisions have in substance remained unchanged for five decades.”

          This language has remained substantially similar with regard to Title VI’s subject

     matter since 1973. 4 But that 50-year-old language establishes that the Regulation does




     3
          40 C.F.R. § 7.35(b). § 7.35(c) more specifically applies to recipients’ “cho[ice of] a site or location of a
          facility[.]” As the re-permitting decisions that triggered this litigation involved existing facilities, they
          involved no choice of a site. § 7.35(c)’s interpretation otherwise parallels § 7.35(b)’s.
     4
          Fed. Reg. Vol. 38, No. 128 (Jul. 5, 1973), p. 17969, 7.4(b)(2) (“A recipient … may not … utilize
          criteria or methods of administration which have or may have the effect of subjecting individuals to
          discrimination because of race, color, or national origin, or which have or may have the effect of
          defeating or substantially impairing accomplishment of the objectives of the program or activity with
          respect to individuals of a particular race, color, or national origin.”). The addition of “sex” was
          untethered to Title VI or to any other general legislation. It began in 1974 as a separate regulation
          enforcing the Clean Water Act’s prohibition on sex discrimination. To reduce duplication, the EPA
          combined the two rules in 1984. EPA’s 1984 streamlining broadened its remit to police sex
          discrimination beyond the Clean Water Act without any Congressional authorization.



                                                             4
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 12 of 33 PageID #: 2648




     not impose disparate-impact liability. 5 If it did, the Court would need to confront the

     constitutional impossibility of the EPA having authority to transform Title VI, in all its

     EPA applications, from the disparate-treatment statute the Supreme Court has ruled it to

     be into a disparate-impact regime through a single, blanket rulemaking.

         The Court need not take that step. The EPA is wrong about the Regulation’s

     meaning, so the Court need not invalidate it. Under the canon of constitutional avoidance,

     the Court may instead rule that the Regulation authorizes no disparate-impact analysis.

             A.       The Regulation is Not a Disparate-Impact Regulation

         The Regulation includes two prohibitions. They bar recipients from steps: (1) “which

     have the effect of subjecting individuals to discrimination because of” their ancestry; and

     (2) which “have the effect of defeating or substantially impairing accomplishment of the

     objectives of the program or activity with respect to individuals of a particular race.”

         The first prohibition doesn’t bar disparate impacts. Its bar on “subjecting individuals

     to discrimination because of” their ancestry parallels Title VI’s language, which the

     Supreme Court has interpreted to prohibit only intentional discrimination. 6 The phrase

     “which have the effect” changes nothing; rather than obliterating the Regulation’s intent

     element, this language establishes that recipients cannot use indirect or pretextual

     methods to advance actual discrimination. Intent remains the central component that

     must be proven to trigger the bar’s application.


     5
         The analysis below draws heavily on Gail Heriot and Alison Somin’s analysis of the parallel
         regulations of DOJ and the U.S. Department of Education (“DOE”). Gail Heriot and Alison Somin,
         The Dept. of Education’s Obama-Era Initiative on Racial Disparities in School Discipline: Wrong for
         Students and Teachers, Wrong on the Law, 22 TEX. REV. L. & POLITICS 471, 548-556 (2018) (also
         available on SSRN at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3104221).
     6
         Students for Fair Admissions Inc. v. President & Fellows of Harvard College, 143 S.Ct. 2141, 2156, n.
         2 (2023) (“SFFA”).



                                                        5
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 13 of 33 PageID #: 2649




         The second prohibition likewise does not bar unjustified disparate impacts. Its bar on

     acts that “have the effect of defeating or substantially impairing accomplishment of the

     objectives of the program or activity with respect to individuals of a particular race”

     conspicuously avoids the words “discrimination” “because of race,” which the Supreme

     Court has held to require discriminatory intent. Still, it does not look for disparate

     impacts by comparing a policy’s effects on different populations or invite consideration

     of any justifications for policies having them. It imposes an absolute, higher standard,

     invalidating recipient steps defeating or substantially impairing the accomplishment of

     program objectives for whole classes of “individuals of a particular race.” 7

         The difference is material in the permitting decisions Louisiana makes in enforcing

     the Clean Air Act. A particular permit could have a disparate impact on some members of

     a race living close to a facility. No permit could possibly defeat or substantially impair

     the accomplishment of the Clean Air Act’s objectives for the aggregated set of

     “individuals of a[ny] particular race,” nearly all of whom definitionally do not live close

     by: all Louisianans of all races who do not live close by receive all the same benefits

     from Louisiana’s permitting decisions as do all Louisianans of other races or ethnicities

     living elsewhere. No permitting decision could possibly “defeat” or “substantially

     impair” the purposes of the Clean Air Act for any statewide racial group.

         The Regulations simply do not say what the EPA contends. They neither authorize,

     nor require disparate-impact analysis. They do not ask whether any policy with a




     7
         As all individuals are of at least one “particular race,” the plural “individuals” must indicate that this
         language looks for impacts on whole sets of individuals, rather than on any individual.



                                                          6
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 14 of 33 PageID #: 2650




     disparate impact is “unjustified.” They focus on different matters entirely: (a) the intent

     of recipients; and (b) the sweeping impact of policies on whole racial groups.

              B.      The Regulation Could Not Constitutionally Be a Catch-All, All-
                      Purpose Disparate-Impact Regulation

          Section 602 of Title VI authorizes agencies to implement § 601’s prohibition on

     intentional racial discrimination. The EPA may, in appropriate circumstances, use it to

     impose duties on regulated entities beyond those of Title VI itself – no one doubts that

     the EPA could require recipients to report information it needs to carry out its mandate.

     That does not authorize the EPA to issue substantive, prophylactic rules imposing a

     disparate-impact standard, which instead of enforcing Title VI, would rewrite it.

          Title VI “authorized and directed” agencies “to effectuate” its prohibition on racial

     discrimination in federally-funded programs. 8 It did not authorize them to expand Title

     VI’s reach for its own sake. Potentially, on a showing that no evidence suggests is

     possible in the context of Clean Air Act permitting decisions, the EPA could craft a

     disparate-impact regulation applicable solely to some narrow portion of its

     programming. 9 But no regulation applying across the entirety of the EPA’s programs

     could be sufficiently congruent and proportional to a demonstrated species of intentional

     discrimination to qualify as constitutional. Modern constitutional jurisprudence leads to

     the same conclusion: the EPA cannot transform Title VI into a different kind of statute

     through issuance of a blanket, catch-all, all-purpose regulation. 10




     8
          Civil Rights Act of 1964, Pub. L. No. 88-352, § 602, 78 Stat. 241, 252.
     9
          See Section I.B.1-I.B.2, below.
     10
          E.g., West Virginia v. EPA, 142 S. Ct. 2587, 2022 U.S. LEXIS 3268 (2022).



                                                        7
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 15 of 33 PageID #: 2651



                       1.       Constitutional Law Establishes the Difference Between
                                Enforcing a Rule and Altering its Meaning, Providing
                                Guidance on the Proper Scope of Title VI Regulations

          Constitutional law provides an analogical basis to gauge how far afield agencies can

     go to enforce Title VI. The Fourteenth Amendment has both substantive requirements

     (Section 1) and an enforcement provision that allows Congress to enforce the amendment

     (Section 5). The Supreme Court reads the latter to impose limits on Congress’s use of this

     power. When Congress disagreed with a Supreme Court ruling interpretating the free

     exercise clause’s application against a state, Congress passed legislation (nominally using

     its enforcement power from Section 5 of the Fourteenth Amendment) to overrule it. The

     Supreme Court rejected Congress’s effort – “Legislation which alters the meaning of the

     Free Exercise Clause cannot be said to be enforcing the Clause. Congress does not

     enforce a constitutional right by changing what the right is. It has been given the power

     ‘to enforce,’ not the power to determine what constitutes a constitutional violation.” 11

          Similarly, Title VI grants agencies authority to “effectuate,” not to redefine, Title VI.

     The Supreme Court long ago determined that Title VI bars only intentional

     discrimination, paralleling the free-exercise clause’s intent requirement. 12, 13 Alexander v.

     Sandoval expressly required the same intent to discriminate for Title VI violations. 14

          Administrative agencies – as delegees of Congressional authority – stand parallel to

     Congress in its role as the American people’s Constitutional delegee of legislative


     11
          City of Boerne v. Flores, 521 U.S. 507, 519 (1997).
     12
          Village of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252 (1977)
          (requiring intent as an element of an equal-protection violation); SFFA, 143 S.Ct. at 2156 n.2 (citing
          Gratz v. Bollinger, 539 U.S. 244, 276, n. 23 (2003) (applying the equal protection clause’s standard for
          states and their subdivisions to federal funding recipients in assessing Title VI violations)).
     13
          Employment Division v. Smith, 494 U.S. 872 (1990) (requiring intent for a free-exercise violation).
     14
          532 U.S. 275, 280-281 (2011) (citing Regents of Univ. of Cal. v. Bakke, 438 U.S. 265 (1978);
          Guardians Ass’n. v. Civil Serv. Comm’n of New York City, 463 U.S. 582 (1983); and Alexander v.
          Choate, 469 U.S. 287 (1985)).



                                                          8
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 16 of 33 PageID #: 2652




     authority. Just as City of Boerne limited Congress to “enforcing” what the Constitution

     already protects, Title VI gives agencies the responsibility for “effectuat[ing] the

     provisions of section 2000d of [Title VI],” not for broadening them. The EPA’s

     regulatory powers under Title VI do not include a power to change Title VI’s standard

     from intentional discrimination to disparate impact, as a blanket matter.

                       2.       If the Regulation Prohibited Disparate Impacts as a General
                                Matter, the EPA Lacked Power to Issue It

          In analyzing the Fourteenth Amendment’s enforcement provision, the Court held that

     any enforcement measures must be congruent and proportional to actual Fourteenth

     Amendment violations Congress sought to remedy. 15 The congruence and proportionality

     test applies beyond the free-exercise clause context. In Board of Trustees of the

     University of Alabama v. Garrett, the Supreme Court employed it to consider the proper

     scope of the Americans with Disabilities Act. 16 The Court held that the ADA’s

     requirement of reasonable accommodations was not a valid exercise of Congress’s

     Fourteenth Amendment, Section 5 power, 17 because the equal protection clause is

     violated only when a state unreasonably treats a disabled person differently from a

     nondisabled person, while failing to accommodate a disabled person is not in itself a

     violation of the equal protection clause. 18 Requiring accommodations conferred a benefit

     rather than providing a congruent, proportional remedy for a denial of equal protection.

          In City of Boerne and Garrett, the Supreme Court made clear that Section 5 only

     authorizes legislation that is congruent and proportional to a Section 1 injury it prevents


     15
          City of Boerne, 521 U.S. at 520, 530–32.
     16
          531 U.S. 356 (2001).
     17
          Id. at 374.
     18
          Id. at 367.



                                                     9
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 17 of 33 PageID #: 2653




     or remedies. Congress’s authority to promulgate preventive or remedial legislation could

     extend beyond the prohibitions of Section 1, only when Congress’s aim was to prevent or

     remedy actual Section 1 violations.

          Similarly, in Alexander v. Sandoval, the Supreme Court acknowledged that agencies

     might have the power to issue regulations somewhat beyond Title VI’s prohibition of

     intentional discrimination, if only when aimed at rooting out intentional Title VI

     violations. Any valid, Title VI disparate-impact regulation must be congruent and

     proportional to an actual, specific kind of Title-VI injury it seeks to prevent or remedy.

          A hypothetical offered by U.S. Civil Rights Commissioner Gail Heriot and Alison

     Somin clarifies the limits of the resulting administrative power to impose disparate-

     impact liability. 19 They suggest that, in some future, the DOE learns that many selective

     colleges give preferences to students who play lacrosse (a sport their hypothetical

     administrators might believe to be more often played by White athletes) as a covert

     method of giving preferences to Whites. There is no doubt that the DOE would be within

     its authority under Title VI to investigate and eventually withdraw federal funds from

     colleges so intentionally discriminating through a facially neutral policy. No resort to

     disparate-impact liability would be necessary given the recipient’s discriminatory intent.

          Heriot and Somin then expand their hypothetical to imagine that: (a) some colleges

     prefer recruiting and funding lacrosse programs to other athletic teams as a subterfuge for

     racial discrimination; while (b) other colleges do so because they want a strong lacrosse

     program for nonracial reasons; but (c) DOE has trouble figuring out which are which.

     With sufficient fact-finding on how common such a subterfuge was and how material the

     19
          Supra, n. 6.



                                                  10
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 18 of 33 PageID #: 2654




     violation, DOE could potentially justify issuing a disparate-impact regulation specifically

     prohibiting federal-funding recipients from enshrining preferences for lacrosse programs.

     Any such valid use of a disparate-impact trigger would necessarily be targeted, narrow,

     and supported by specific fact-finding. No set of facts established concerning college

     lacrosse programs could justify a broad, meta-regulation prohibiting all facially neutral,

     evenhandedly administered policies that yield disparate impacts, until and unless those

     policies are “justified” to the DOE or a court. Such a catch-all, all-purpose regulation

     would change the statute up-to-everywhere, at the discretion of a federal agency.

          At most, existing law allows agencies to craft situationally specific regulations,

     making use of disparate-impact triggers for defunding to deal with fields where

     intentional discrimination has been established to be systemically underway. There is no

     evidence of wide-spread, intentional discrimination based on race in states’

     environmental protection decisions. Indeed, we have identified only one (1) instance

     since the EPA’s 1970 creation where it has found any intentional racial discrimination.20

     Without any evidence of a widespread pattern of intentional discrimination, prohibiting

     disparate impacts (whether “justified” or not) as a blanket matter could not meet the

     congruence and proportionality test. If the Regulation is, as the EPA would have it, a

     disparate-impact regulation, EPA lacked the power to issue it.


     20
          Albert Huang, Environmental Justice and Title VI of the Civil Rights Act: A Critical Crossroads,
          American              Bar              Association              (Mar.             1,              2012)
          (https://www.americanbar.org/groups/environment_energy_resources/publications/trends/2011_12/mar
          ch_april/environmental_justice_title_vi_civil_rights_act/#:~:text=On%20April%2022%2C%202011%
          2C%20EPA,facie%20violation%20of%20Title%20VI._ (last visited, Sep. 10, 2023) (“On April 22,
          2011, EPA … for the first time in EPA’s history … made a preliminary finding that the evidence …
          demonstrated a prima facie violation of Title VI.”); Title VI – Settlements and Decisions
          (https://19january2017snapshot.epa.gov/ocr/title-vi-settlements-and-decisions_.html) (last visited, Sep.
          10, 2023) (identifying no additional settlements or decisions including a finding of intentional racial
          discrimination).



                                                          11
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 19 of 33 PageID #: 2655



                       3.       Consistency of Analysis with Supreme Court Jurisprudence

          While the EPA insists that such a ruling would conflict with Guardians’ binding

     precedent, the agency’s analysis is deeply flawed and ignores major developments in the

     intervening constitutional jurisprudence. The EPA Cross-Motion reads Guardians to

     accept the authority of agencies to adopt disparate-impact Title VI regulations. 21 While

     the EPA Cross-Motion’s arguments are consistent with dicta found in the Guardians

     opinions, developments in constitutional law in the intervening four (4) decades have so

     undermined Guardians as to render that dicta no longer a reliable authority on the matter.

                                a.       Guardians Barely Supports EPA’s Position

          Even if Guardians were still good law, it cannot bear the weight that the EPA places

     upon it. In Guardians, a deeply divided Court split across six opinions in assessing

     whether private plaintiffs pursuing claims under Title VI or its regulations could recover

     compensatory damages without showing intentional discrimination. 22 The EPA

     emphasizes that five justices would have ruled that the relevant regulations could legally

     be disparate-impact regulations. 23 And, indeed, while “[s]even Members of the Court

     agree[d] that a violation of the statute itself requires proof of discriminatory intent[,]” 24

     three Justices both accepted this fact and contended that agencies had the power to

     impose disparate-impact liability through regulations. 25 Both Justice White and Justice

     Marshall denied that Title VI only prohibited intentional discrimination, while stating that


     21
          E.g., EPA Cross-Motion at 40.
     22
          “It is well established that when we are confronted with a plurality opinion, we ‘look to that position
          taken by those Members who concurred in the judgments on the narrowest grounds.’” United States v.
          Courtney, 463 F.3d 333, 338 (5th Cir. 2006), quoting Pedcor Mgmt. Co., Inc. Welfare Benefit Plan v.
          Nations Personnel of Tex., Inc. 343 F.3d 355, 358 (5th Cir. 2003). The controlling holding is the
          narrowest rationale essential to the result across opinions. See Pedcor Mgmt. Co., 343 F.3d at 358-59.
     23
          E.g., Id.
     24
          Guardians Ass’n, 463 U.S. at 608 n. 1 (Powell, J., concurring).
     25
          Id. at 642-45 (Stevens, J., concurring with Brennan and Blackmun, J.J.).



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Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 20 of 33 PageID #: 2656




     – if it did – “the regulations are valid” in doing so. 26 Notably, despite these five Justices

     agreement on this point, the Supreme Court affirmed the Court of Appeals’ denial of any

     relief under Title VI or its regulations. 27 Also notably, Justice Marshall provided no

     reasoning for his administrative law contention at all, while Justice White relied for

     reasoning entirely on a concurrence from Lau v. Nichols. 28

          The EPA’s read of Guardians thus draws entirely on dicta, supported by only a

     concurring opinion in Lau and no other substantive reasoning.

                                b.       Post-Guardians Development Guts EPA’s Preferred
                                         Reading of Guardians’ Dicta

          Later cases – specifically, Sandoval and West Virginia v. EPA – deny the Guardians

     dicta the precedential effect the EPA assigns it, leaving it powerless in the present.

          Twenty-eight years after Guardians, because the “petitioners ha[d] not challenged

     the regulations[,]” the Sandoval court had no occasion to directly address the EPA’s

     preferred reading of Guardians. 29 Still, Sandoval gutted the substance of that reading.

     Most directly, Sandoval focused on the whether a private plaintiff could ever enforce a

     Title VI regulation (whatever that regulation’s content or propriety), concluding that no

     private plaintiff could do so. 30 More importantly for our purposes, Sandoval rightly

     concluded that “no opinion of this Court” – expressly including Guardians – “has held

     that” “regulations promulgated under § 602 of Title VI may validly proscribe activities


     26
          Id. at 584, n. 2 (White, J.) and 624, n. 15 (Marshall, J.).
     27
          Id. at 593 (White, J.).
     28
          Id. at 592 (White, J.) (citing 414 U.S. 563 (1974)).
     29
          Sandoval, 532 U.S. at 282.
     30
          Sandoval, 532 U.S. at 291-93 (“…it is most certainly incorrect to say that language in a regulation can
          conjure up a private cause of action that has not been authorized by Congress. Agencies may play the
          sorcerer’s apprentice but not the sorcerer himself…. Neither as originally enacted nor as later amended
          does Title VI display an intent to create a freestanding private right of action to enforce regulations
          promulgated under § 602.”).



                                                         13
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 21 of 33 PageID #: 2657




     that have a disparate impact on racial groups, even though such activities are permissible

     under § 601.” 31 Accordingly, for more than a decade, the Supreme Court has recognized

     that the EPA’s reading relies on dicta. It also specifically addressed the alleged vibrancy

     of the Lau concurrence as a precedent, noting that “the five Justices who made up the

     majority did not [agree], and their holding is not made coextensive with the concurrence

     because their opinion does not expressly preclude … the concurrence’s approach.” 32 As

     the Court explained, it would be “odd” if a “concurring minority … could force the

     majority to address a point they found it unnecessary (and did not wish) to address.”33

     Sandoval thus rejected the only authority on which either Justice White or Justice

     Marshall relied in joining Justice Stevens’ Guardians dissent in asserting as dicta that

     agencies could impose disparate impact through Title VI regulations.

          If Guardians’ dicta continues to carry any authority post-Sandoval, it could do so

     only as an unsupported implication of the propriety of agencies enforcing disparate-

     impact Title VI regulations adopted to expand the reach of the underlying statute. But the

     Supreme Court’s West Virginia opinion rejects Guardians’ dicta on even that point, by

     adopting the “major questions” doctrine and so rejecting administrative agencies’

     transformation on their own authority of the regulatory regimes adopted by Congress. 34

     Just as the EPA lacked the authority to transform through regulations Congress’s Clean

     Air Act into a “Clean Power Plan,” the EPA lacks the authority to transform Title VI

     through the Regulation into a mandate for states to license or re-permit only polluting

     facilities situated near demographically representative populations.

     31
          Id. at 281 (emphasis added).
     32
          Id. at 285 n.5.
     33
          Id.
     34
          West Virginia, 2022 U.S. LEXIS, at *38.



                                                    14
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 22 of 33 PageID #: 2658




          In West Virginia v. EPA, after decades of contrary agency practice, the EPA

     promulgated rules under a “gap-filler” provision of the Clean Air Act. 35 These rules

     declared carbon dioxide a pollutant and sought to regulate its production by existing coal

     and gas plants through a “Clean Power Plan” requiring an industry-wide shift to

     renewable energy sources. 36 Litigation followed, which eventually made its way before

     the Supreme Court. 37

          The Supreme Court resolved it by invoking the “major questions doctrine,” finding

     “‘reason to hesitate before concluding that Congress’ meant to confer such authority.”38

     It cautioned that “[e]xtraordinary grants of regulatory authority are rarely accomplished

     through ‘modest words,’ ‘vague terms,’ or ‘subtle device[s][,]’” 39 and noted that

     “Congress typically [does not] use oblique or elliptical language to empower an agency

     to make a ‘radical or fundamental change’ to a statutory scheme.” 40 It ruled that

     “[a]gencies have only those powers given to them by Congress, and ‘enabling legislation’

     is generally not an ‘open book to which the agency [may] add pages and change the plot

     line.” 41 “Thus, … both separation of powers principles and a practical understanding of

     legislative intent make us ‘reluctant to read into ambiguous statutory text’ the delegation

     claimed to be lurking there[,]” reasoning justifying the conclusion that “[t]he agency …



     35
          For promulgation, see id., at *20; for authorizing provision’s “gap-filler” status, see id. at *18.
     36
          Id. at *20-*23 and *49.
     37
          The way was tortured. Mid-litigation, the next administration’s EPA repealed the relevant rules, based
          on a “conclu[sion] that the Clean Power Plan had been ‘in excess of its statutory authority.’” Id. at *27
          (internal citations omitted). Dozens of parties then sued to enjoin the repeal and dozens more
          intervened to defend it. Id. at *29. The suit the Supreme Court heard involved these challenges to the
          abandonment of the Clean Power Plan, rather than its adoption.
     38
          Id. at *35 (internal citations omitted).
     39
          Id. at *37-*38 (internal citations omitted).
     40
          Id. at *38 (internal citations omitted).
     41
          Id.



                                                          15
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 23 of 33 PageID #: 2659




     must point to ‘clear congressional authorization’ for the power it claims.” 42

          The Supreme Court found no clear authorization. It held that “EPA’s [view of its]

     authority … effected a ‘fundamental revision of the statute, changing it from [one sort of]

     scheme of … regulation’ into an entirely different kind.” 43 Accordingly, it reversed the

     lower court rulings blocking the EPA’s repeal of the Clean Power Plan rules. 44

          The parallels are legion. The EPA “initially viewed its traditional authorities as being

     in conflict with [any] environmental justice [or] Title VI obligations.” 45 As in West

     Virginia, the EPA’s reassessment of its role enforcing Title VI reflects a tidal change

     away from a “‘contemporaneous’ and long-held Executive Branch interpretation …

     entitled to some weight as evidence of the … original charge to an agency[.]” 46

          The Clean Power Plan rules affected “[t]he electric power sector[,]” which “is among

     the largest in the U.S. economy, with links to every other sector[.]” 47 The EPA’s

     reinterpretation of the Regulation applies it to all the agency’s actions and so to its

     interactions with all its funding recipients and all the American people. Definitionally,

     that effects a larger share of the economy than did the Clean Power Plan.

          Just as the EPA’s imposition of a Clean Power Plan in West Virginia “claim[ed] the

     power to resolve a matter of great ‘political significance[,]” and to “end an ‘earnest and

     profound debate across the country[,]” 48 its deployment of the Regulation to reshape the

     agency and all its decisions seeks to end debate over the placement of industrial facilities.

     42
          Id.
     43
          Id. at *44-45.
     44
          Id. at *54.
     45
          U.S.C.C.R. Report: Environmental Justice: Examining the Environmental Protection Agency’s
          Compliance and Enforcement of Title VI and Executive Order 12,898 (Sep. 2016), p. 15.
     46
          West Virginia, 2022 U.S. LEXIS 3268, at *71 (Gorsuch, J., concurring).
     47
          Id. at *68 (Roberts, C.J., majority opinion).
     48
          Id. at *64-65 (Gorsuch, J., concurring).



                                                   16
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 24 of 33 PageID #: 2660




          The systematic threats at play in West Virginia are clearly implicated here as well.

     Justice Gorsuch’s fear that executive policy reversals untethered to any new, clear

     Congressional action could “dash[ the] whole scheme” of Article I, rendering lawmaking

     “nothing more than the will of the current President, or, worse yet, the will of unelected

     officials barely responsive to him[,]” 49 is here an observable history. As the EPA Cross

     Motion notes, the last administration had all-but completed a rulemaking process

     intended to assure that the EPA would not engage in disparate-impact analysis, which this

     administration reversed, now newly reinterpreting the Regulation to mandate a vast

     expansion of the same. 50 No longer hypothetical, then, “[s]tability [has been] lost, with

     [the enforced interpretation] of laws changing with every new presidential

     administration.” 51 As a result, no party can view the current deployment of the

     Regulation as “embody[ing] a wide social consensus and input from minority voices[;]”

     instead it “bear[s] the support only of the party currently in power.” 52

          And, as in West Virginia, Title VI provides no clear congressional authorization for

     the EPA’s reinterpretation of the Regulation. With no notice or comment, the agency’s

     reinterpretation of the Regulation works a “fundamental revision of the statute, changing

     it from [one sort of] scheme of … regulation’ into an entirely different kind.”

          To the extent that Guardians’ dicta ever had any precedential value, the intervening

     jurisprudence makes clear that it no longer does. The Supreme Court has clearly indicated

     that it has never held the issuance of disparate-impact Title VI regulations to be proper

     and that no administrative agency can fundamentally transform America’s substantive

     49
          Id. at *60 (Gorsuch, J., concurring).
     50
          EPA Cross-Motion at 23.
     51
          West Virginia v. EPA, 2022 U.S. LEXIS, at *60.
     52
          Id. at *60-*61.



                                                       17
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 25 of 33 PageID #: 2661




     law by regulation. Whether on the initial merits or because of these later developments,

     the EPA lacks the power to sweepingly impose disparate-impact liability, without

     Congress’s involvement.

              C.       The Canon of Constitutional Avoidance Dictates That the Court
                       Should Reject the EPA’s New Interpretation and Read the
                       Regulations Not to Be Catch-All, All-Purpose Disparate-Impact
                       Regulations

          In N.L.R.B. v. Catholic Bishop of Chicago, applying the doctrine of constitutional

     avoidance, the Supreme Court declined to interpret a statute in a way that would require it

     to resolve “difficult and sensitive” constitutional questions. 53 The canon governs the

     interpretation of regulations as well as statutes. 54 Disparate-impact liability’s

     constitutionality is “difficult and sensitive.” 55 The EPA’s conversion of Title VI into a

     disparate-impact regime without Congressional involvement can only be more so.

          If the Regulation were a blanket, catch-all, all-purpose disparate-impact regulation, it

     would be unconstitutional. It would compel the EPA and the states to racially classify

     Americans and to incorporate racial balancing into their substantive decision-making.


     53
          440 U.S. 490 (1979).
     54
          E.g., Rust v. Sullivan, 500 U.S. 224, 238 (1991) (applying canon to a regulation); B.R. v. Garland, 26
          F.4th 827, 837 (9th Cir. 2022) (interpreting “the regulation … in the light of the canon of constitutional
          avoidance (to avoid potential due process violations)”); United States v. CITGO Petroleum Corp., 801
          F.3d 477, 483 n.6 (5th Cir. 2015) (under “the canon of constitutional avoidance… courts must ‘avoid
          an interpretation of a [regulation] [SIC] that engenders constitutional issues if a reasonable alternative
          interpretation poses no constitutional question.’”) (citing Gomez v. United States, 490 U.S. 858, 864
          (1989)); Nat’l Mining Ass’n v. Kempthorne, 512 F.3d 702, 711 (D.C. Cir. 2008) (requiring deployment
          of “canon of constitutional avoidance” to challenge to a regulation, even at expense of “Chevron
          deference” when “it ‘presents serious constitutional difficulties.”) (citing Edward J. DeBartolo Corp.
          v. Fla. Gulf Coast Bldg. & Constr. Trades Council, 485 U.S. 568, 574-577 (1988) and Rep. Nat’l
          Comm. v. FEC, 316 U.S. App. D.C. 139 (D.C. Cir. 1996)).
     55
          Catholic Bishop of Chicago, 440 U.S. 490 (1979); see also, e.g., Ricci v. DeStefano, 557 U.S. 557
          (2009) (Scalia, J., concurring) (“I join the Court’s opinion in full, but write separately to observe that
          its resolution of this dispute merely postpones the evil day on which the Court will have to confront the
          question: Whether, or to what extent, are the disparate-impact provisions of Title VII of the Civil
          Rights Act of 1964 consistent with the Constitution’s guarantee of equal protection? The question is
          not an easy one.”).



                                                           18
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 26 of 33 PageID #: 2662




     Such race-based policymaking is only ever constitutional when it meets strict scrutiny.56

     If the Regulation were what the EPA contends, it plainly could not meet that standard.

     There is no proof or even reason to believe that Louisiana or any other state is engaged in

     widespread, intentional discrimination in administering environmental laws. Even if such

     a showing could be made in some specific context, it would be impossible for a blanket

     regulation—one applicable anywhere at the discretion of EPA—to be narrowly tailored

     to address that context.

           No agency-wide regulation treating disparate impact alone as a violation of Title VI

     can be constitutional. The Court should reject the EPA’s reading of the Regulation, in

     order to avoid holding the Regulation in its entirety to be unconstitutional.

               D.       If the Court Defers to the EPA on the Regulation’s Meaning, It Must
                        Declare the Regulation Unconstitutional

           However, should the Court find that Auer or any other deference canon requires it to

     accept the EPA’s current interpretation of the Regulation, the result would be clear. Title

     VI offers the EPA no authority to transform it into a disparate-impact regime. If the

     Regulation nonetheless imposes disparate-impact liability on funding recipients, it

     oversteps the EPA’s regulatory authority and must be declared unconstitutional.

     II.       EPA’ S T IMING E XTRAPOLATION C ONTRADICTS I TSELF

           (a) The disparity between the Regulation and the EPA’s current interpretation of the

     Regulation; (b) fundamental, universal principals of claim accrual; and (c) a series of the

     EPA’s other contentions in this litigation, together, establish why its argument that this

     litigation comes 50 years too late cannot prevail.

     56
           SFFA, 143 S.Ct. at 2162 (citing Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995), Grutter
           v. Bollinger, 539 U.S. 306, 326 (2003), and Fisher v. Univ. of Tex. at Austin (Fisher I), 570 U.S. 297,
           311 (2013)).



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Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 27 of 33 PageID #: 2663



              A.       The EPA’s Current Interpretation of the Regulation and the
                       Regulation Itself are Not Co-Extensive

          As explained, above, the Regulation is not a disparate-impact regulation. Like a

     shadow on a cave wall, 57 the EPA’s current interpretation of the Regulation is not the

     Regulation itself. The two have different meanings, histories, and implications. One went

     through notice-and-comment procedures fifty years ago; the other emerged as an

     administrative priority in 2021. 58 One cannot even hypothetically gauge the timeliness of

     a challenge to the EPA’s two-year-old interpretation of the Regulation by reference to the

     fact that the EPA promulgated the Regulation a half century earlier.

              B.       Claims for Constitutional Harms are Litigable When They Arise,
                       Whether or Not Caused by Nominal Reliance on an Existing
                       Regulation

          Black-letter law provides that a claim “accrues when the plaintiff is ‘in possession of

     the critical facts that he has been hurt and who has inflicted the injury.’” 59 It is of no

     moment whether the specific constitutional wrong at issue arose out of a policy that had

     been in place for decades: when Topeka refused to allow Oliver Brown to enroll his

     daughter Linda in a local public school in 1950, 60 that gave rise to a new, timely

     constitutional claim, regardless of the fact that Kansas began segregating schools long

     before her birth in 1879. The age of the policy was irrelevant to the plaintiff’s right to

     litigate new harms as they arose.



     57
          Plato & Allan Bloom, The Republic (2016).
     58
          The Current EPA Administrator pledged to make environmental justice central to the agency at his
          confirmation hearing. Brian Murphy, EPA Nominee Regan Clears Senate Committee, Appears Headed
          for     an     Easy     Confirmation,     The     News       and     Observer      (Feb.     9,    2021)
          (https://www.newsobserver.com/news/politics-government/article248975865.html).
     59
          Bailey v. United States, 508 F.3d 736, 740 (5th Cir. 2007) (citing Gartrell v. Gaylor, 981 F.2d 254, 257
          (5th Cir. 1993)).
     60
          For      biographical    details,   see:    Linda     Brown,       (May     19,     2021),     Biography
          (https://www.biography.com/activist/linda-brown).



                                                          20
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 28 of 33 PageID #: 2664




         Louisiana’s challenge to the EPA’s current interpretation of the Regulation is no

     different. Because the Regulation is not a disparate-impact regulation, Louisiana

     possessed no knowledge of the critical facts indicating that EPA might later assert that it

     was or seek to compel Louisiana to create an entirely new state-regulatory structure to

     gauge whether otherwise proper environmental decisions might have disparate impacts

     on populations of different races until the events giving rise to this litigation unfolded.

            C.      The EPA’s Inconsistent and Contradictory Positions Bar Challenge to
                    the Regulation’s Propriety

         Nor do the EPA’s related arguments against the propriety of this litigation cohere.

         Taken separately, the EPA may be able to raise various colorable assertions

     concerning this litigation. It may be able to contend that advancing the unconstitutionality

     of a standard defensively, when an agency applies it against a defendant, affords a

     sufficient remedy. It may be able to argue that if no one has ever challenged the propriety

     of the Regulation over its fifty-year history, that could itself be telling. It may be able to

     contend that it has never enforced the Regulation against anyone, anywhere, ever.

         It cannot, though, coherently maintain all these arguments simultaneously. The EPA

     cannot with a straight-face argue that a Regulation may only be attacked defensively (in

     litigation the agency has never brought over half a century) and that the failure of any

     defendant to defensively assert the unconstitutionality of the Regulation (as newly

     construed in 2021) in response to nonexistent enforcement actions during that time

     demonstrates the legality of the Regulation (as newly construed in 2021). Such a position

     denies the target of an enforcement action any opportunity to challenge the Regulation

     and effectively insulates the Regulation (as well as any agency “reinterpretation” of any




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Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 29 of 33 PageID #: 2665




     other sparsely deployed regulations) from judicial review.

     III.      T HE A DMINISTRATION S EEKS TO E VADE J UDICIAL R EVIEW OF ITS
               “W HOLE OF G OVERNMENT ” M ISDEPLOYMENT OF D ISPARATE -I MPACT
               A NALYSIS ( OF W HICH THE EPA’ S R EINTERPRETATION OF THE
               R EGULATION IS A P ART )

               A.     The “Whole of Government” Misdeployment of Disparate-Impact
                      Analysis Has Vast Scope

            From its first day in office, the current administration has ordered federal agencies,

     effectively, to embed disparate-impact analysis into all their operational decisions. In

     Executive Order 13985, President Biden instructed all agencies to “assess whether

     underserved communities and their members face systemic barriers in accessing benefits

     and opportunities available pursuant to” the agencies’ programs. EO 13985 specifically

     defined “underserved communities” as “populations sharing a particular characteristic[,]”

     with listed examples defined by race and ethnicity, along with “persons otherwise

     adversely affected by persistent poverty.” These definitions embedded assessments of all

     federal grants for racially disparate impacts into the instructed conduct of all federal

     agencies. The only conceivable statutory peg for that order would be Title VI, which (as

     explained above), does not support it.

            In February, through Executive Order 14091, President Biden more specifically

     required all federal agencies to “use their respective civil rights authorities” “to advance

     equity for all,” including through “prevent[ing] and remedy[ing] discrimination,

     including … algorithmic discrimination.” Again, the definitions give away the game,

     defining “underserved communities” by reference to EO 13985, “equity” primarily by

     reference to racial, ethnic, and other demographic classifications allegedly “adversely




                                                   22
Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 30 of 33 PageID #: 2666




     affected by persistent poverty or inequality[,]” and “algorithmic discrimination” as when

     automated systems unintentionally “contribute to unjustified different treatment.”

          The EPA’s elevation of “environmental justice” serves as a prime example, but not a

     lonely one, of how the agencies have complied. The Education Department spent years

     promising to ban (nominally under Title VI and its regulations) school funding recipients

     from even-handedly applying facially neutral disciplinary policies that had racially

     disparate impacts. 61 The Department of Justice concluded at least one investigation of a

     local law enforcement agency under Title VI “and its implementing regulations” based

     exclusively on allegations that its policies had a disparate impact. 62 Without any finding

     or even allegation of intentional discrimination, relying on the authority of its Title VI

     regulations, HHS forced Alabama to halt enforcing the state’s laws against dumping

     untreated sewage in a predominantly Black county. 63 And just months ago, DOE loudly

     launched an investigation into whether Harvard’s admissions preferences for legacies and

     donors’ children – while facially race-neutral and both adopted and maintained without

     any intent to discriminate – violate its Title VI regulations. 64 The example of Alabama in




     61
          Request for Information Regarding Nondiscriminatory Administration of School Discipline—Office of
          Civil Rights (Docket ID ED-2021-OCR-0068), (Fed. Reg. Vol. 86, No. 108, pp. 30449-30453).
     62
          Memorandum of Agreement Between the United States of America and the Liberty County Sheriff’s
          Office, Dep’t of Just. No. 171-19-24 (specifically noting that the local agency “found no evidence that
          its officers relied upon race” in their activities and omitting any contrary finding of DOJ).
     63
          Interim Resolution Agreement Between the U.S. Dep’t of Just. and the Dep’t of HHS and the Ala.
          Dept’t of Pub. Health, Dep’t of Just. No. 171-3-14; HHS Office of Civil Rights No. 22-451932.
          Unstated in the agreement, but obvious to a reader, had Alabama on its own adopted precisely the
          policy of non-enforcement of its sewage dumping laws in the same county, the administration could
          (and likely would) have challenged that policy, too, as violating its Title VI regulations through its
          disparate impact on the health of the same predominantly Black residents.
     64
          Michael Casey, Education Dep’t Opens Investigation into Harvard’s Legacy Admissions, AP (Jul. 25,
          2023).



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Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 31 of 33 PageID #: 2667




     particular illustrates the catch-22 inherent in disparate-impact analysis, which renders

     virtually every government action a presumptive violation of Title VI’s regulations. 65

              B.       The Federal Government Has Repeatedly Evaded Litigation Over the
                       Propriety of Disparate-Impact Enforcement of Title VI

          But every time a party appears ready to contest in federal court the administration’s

     use of disparate impact under Title VI, the administration has sought to avoid judicial

     review of its legality. Here, the EPA abruptly closed its investigations following

     Louisiana’s request for injunctive relief. 66 Elsewhere, the DOE – faced with comments

     filed by states and public-interest groups highlighting the unconstitutionality of the teased

     disciplinary guidance 67 – published something radically different than promised. 68 The


     65
          Virtually any action has disparate impact within a diverse jurisdiction. Gail Heriot, Title VII Disparate
          Impact Liability Makes Almost Everything Presumptively Illegal, 14 NYU J.L. & LIBERTY 1 (2020)
          (documented in the Title VII context, but applying in all others). Consider EPA’s investigation
          concerning Louisiana’s re-permitting for the Denka facility based on disparate impact to “people who
          identify as Black” in St. John the Baptist and St. James Parishes. Dkt. 34-28 at 8. With no parish’s
          demography perfectly matching those of the whole state, Louisiana could permit such a facility in no
          parish without having a disparate impact on some protected class.
               It could not do so in St. Tammany Parish: that would disparately impact its disproportionately
          Italian population. US Census, https://data.census.gov/profile?g=050XX00US22103 (visited Oct. 5,
          2023). It could not do so in New Orleans Parish: that would disparately impact its disproportionately
          Sicilian       population.        See        Wikipedia,       Italians      in       New         Orleans,
          https://en.wikipedia.org/wiki/Italians_in_New_Orleans (visited Oct. 5, 2023). It could not do so in St.
          Martin, Vermillion, or Evangeline Parishes: that would disproportionately impact their uniquely
          French- and Cajun-speaking populations. See Wikipedia, “List of Louisiana Parishes by French-
          speaking       population,”        https://en.wikipedia.org/wiki/List_of_Louisiana_parishes_by_French-
          speaking_population (visited Oct. 5, 2023). It could not do so in Plaquemines or Jefferson’s Parishes:
          that would disparately impact their disproportionately Asian populations. It could not do so in Sabine
          or Terrabone Parishes: that would disparately impact their disproportionately Native American
          populations. Eight parishes have greater Black representation than does St. James, so those are
          presumably out as well. (Calculated using the US Census tool available at
          https://www.census.gov/library/stories/state-by-state/louisiana-population-change-between-census-
          decade.html.).
               These examples are illustrative. Without a totally fantastical, enforced distribution of all
          Americans by race, color, and national origin group between parishes (or any other geographical unit),
          no conceivable permitting decision could ever satisfy the EPA’s interpretation of the Regulation.
     66
          A similar pattern unfolded in Michigan. Erin Fitzgerald, EGLE, EPA Retreat from Civil Rights
          Agreement with Flint Groups, Earthjustice (Aug. 10, 2023) (https://earthjustice.org/press/2023/egle-
          epa-retreat-from-civil-rights-agreement-with-flint-groups).
     67
          See, e.g., Comment on Dep’t of Ed.’s Potential Guidance on Nondiscriminatory Administration of
          School          Discipline,        The          ACR          Project       (Jul.        23,         2021)



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Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 32 of 33 PageID #: 2668




     only apparent exceptions have seen aligned defendants (like Liberty County) agree to the

     administration’s shared agenda (as Harvard, presumably, will do).

              C.       The Court Must Reject the Administration’s Gamesmanship

          The President committed the “whole of government” from his first day in office to

     pursuing the interpretation of Title VI’s regulations at issue in this litigation. The

     administration uses the hammer of investigations based on this interpretation to force

     actors to adopt policies Title VI does not compel (or, arguably, allow). Time and again,

     when faced with refusals to comply by those with the capacity to fight, the administration

     has sought to moot the issue and deny the courts the chance to address the legality of this

     day-one priority of the administration’s agenda.

          The Court cannot allow the EPA to continue this pattern of evasion. If the

     administration is going to center across the entire government an interpretation of Title

     VI and its regulations prescribed by the Supreme Court, this Court should require the

     EPA to litigate the merits and live with the consequences.

                                                 CONCLUSION

          Here, those consequences should include summary judgment for Louisiana and an

     injunction against any enforcement of the EPA’s current interpretation of the Regulation.




          (https://www.americancivilrightsproject.org/blog/comment-on-department-of-educations-potential-
          new-guidance-on-nondiscriminatory-administration-of-school-discipline/).
     68
          Guiding Principles for Creating Safe, Inclusive, Supportive, and Fair School Climates, Dep’t of Ed.,
          (Mar. 24, 2023) (omitting any suggestion that any system could violate Title VI unintentionally);
          Resource on Confronting Racial Discrimination in Student Discipline, Dep’t of Ed.’s OCR and DOJ’s
          Civil Rights Division (May 2023) (pegging DOE’s authority to consider statistical data exclusively to
          its implications for intent: “While racial disparities in student discipline alone do not violate the law,
          ensuring compliance with Federal nondiscrimination obligations can involve examining the underlying
          causes of such disparities.”).



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Case 2:23-cv-00692-JDC-KK Document 41 Filed 10/10/23 Page 33 of 33 PageID #: 2669



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  upon all counsel of record.


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